           Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 1 of 36




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                   ALBANY DIVISION

 NELSON GAMACHE and EDWARD NOFI,
 individually and on behalf of a class of all
 others similarly situated,

           Plaintiffs,                                       Case No. 1:19-CV-00021

 v.                                                             AMENDED
                                                         CLASS ACTION COMPLAINT
 JOHN F. HOGUE, JR., GRAHAM
 THOMPSON, JAMES URBACH, GLENN
 KIRBO, RANDY HALL, AND THE
 ADMINISTRATIVE COMMITTEE OF THE
 TECHNICAL ASSOCIATES OF GEORGIA,
 INC. EMPLOYEE STOCK OWNERSHIP
 PLAN,

           Defendants,

 and

 TECHNICAL ASSOCIATES OF GEORGIA,
 INC. EMPLOYEE STOCK OWNERSHIP
 PLAN,

       Nominal Defendant.



       Plaintiffs Nelson Gamache and Edward Nofi, by and through their attorneys, allege as

follows:

                                     NATURE OF THE CASE

       1.         This action is brought pursuant to the Employee Retirement Income Security Act

of 1974, as amended (“ERISA”), 29 U.S.C. § 1001 et seq., by Plaintiffs on behalf of a class of

participants in and beneficiaries of the Technical Associates of Georgia, Inc. Employee Stock

Ownership Plan (“the ESOP” or “the Plan”) to restore losses to the Plan and to remedy violations



                                                 1
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 2 of 36




of ERISA arising out of self-dealing transactions whereby corporate insiders who were also

ESOP fiduciaries gained ownership interests in Technical Associates of Georgia, Inc. at the

expense of the ESOP and its participants. Plaintiffs are former, long-serving employees of

Technical Associates of Georgia, Inc. (“Technical Associates” or “the Company”) and current

participants in the ESOP whose ESOP accounts had significant investments in Technical

Associates stock.

       2.      Prior to August 2011, the ESOP owned more than 97% of Technical Associates

(and initially 100% of Technical Associates). In August 2011, Technical Associates and the

fiduciaries of the ESOP arranged to refinance the ESOP’s debt to the original shareholders of the

Company (“the 2011 Refinancing”). In connection with the 2011 Refinancing, on the date of the

2011 Refinancing and sometime thereafter, fiduciaries of the ESOP – who also were the lead

executives of Technical Associates – secretly obtained a significant ownership interest in

Technical Associates and thereby diluted the ESOP’s ownership interest, and then concealed the

dilution of the ESOP’s interest.

       3.      The ESOP fiduciaries have never disclosed in the ESOP’s filings with the U.S.

Department of Labor that the ESOP no longer owns 100% of the stock of Technical Associates.

No fiduciary of the ESOP disclosed in writing to any participant that the fiduciaries had acquired

partial ownership of Technical Associates or the ESOP now owned significantly less than 100%

of the stock of Technical Associates until May 2018. In an in-person meeting in September

2016, Plaintiff Gamache questioned Defendant Thompson about the financial statements in the

ESOP’s Form 5500 filings and Defendant Thompson revealed —for the first time—that the

ESOP did not own 100% of the Company. Thereafter, in a May 23, 2018 letter responding to a

specific inquiry by Plaintiff Gamache, legal counsel for the Company and the Board of Directors



                                                2
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 3 of 36




admitted that the ESOP no longer owned 100% of the Company because lead executives of the

Company had acquired shares. After the ESOP fiduciaries refused to provide any additional

information or take any corrective action, Plaintiffs filed this action.

       4.      Through this action, Plaintiffs seek to enforce their rights under ERISA and the

Plan, to recover the losses incurred by the Plan and/or the improper profits realized by

Defendants as a result of their breaches of fiduciary duty and prohibited transactions. Plaintiffs

request that these prohibited transactions be declared void, that Defendants be ordered to

disgorge any profits, and that Defendants and any other fiduciaries be required to restore any

losses to the Plan arising from their ERISA violations and that any monies recovered for the Plan

be allocated to the accounts of the Class.

                                   JURISDICTION & VENUE

       5.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because this action arises under the laws of the United States and pursuant to 29 U.S.C.

§ 1132(e)(1), which provides for federal jurisdiction of actions brought under Title 1 of ERISA.

       6.      This Court has personal jurisdiction over Defendants because Defendants transact

business in and have significant contacts with this District, and because ERISA provides for

nationwide service of process pursuant to ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2).

       7.      Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because the ESOP is and was at the relevant times administered in this District, the

breaches and violations giving rise to Plaintiffs’ claims occurred in this District, and all of the

Defendants may be found in this District. Venue is also proper under 28 U.S.C. § 1391(b) and (c)

because a substantial part of the events or omissions giving rise to the claims occurred in this

District, and one or more of the Defendants reside in this District.



                                                  3
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 4 of 36




                                            PARTIES

Plaintiffs

       8.      Plaintiff Nelson Gamache is a former employee of Technical Associates. Mr.

Gamache was employed by Technical Associates from February 2001 to June 1, 2018. By

October 2011, Mr. Gamache was a vested participant in the Plan. Mr. Gamache remains a

participant of the ESOP within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7), because he

still has an account in the Plan and because he has a colorable claim for additional benefits as a

result of Defendants’ breaches and violations. He currently resides in Woodstock, Georgia

       9.      Plaintiff Edward Nofi is a former employee of Technical Associates. Mr. Nofi

was employed by Technical Associates from June 1987 to July 2013. By October 2011, Mr.

Nofi was a vested participant in the Plan. Mr. Nofi is a participant of the ESOP within the

meaning of ERISA § 3(7), 29 U.S.C. § 1002(7), because he has a colorable claim for additional

benefits as a result of Defendants’ fiduciary breaches and violations. He currently resides in The

Villages, Florida.

Defendants

       10.     Defendant John F. Hogue, Jr. is the CEO and President of Operations of

Technical Associates. According to his LinkedIn profile, Hogue has been the President of

Technical Associates from January 2005 to the present. According to annual statements filed

with the Georgia Secretary of State, Hogue was CEO of Technical Associates from at least April

1, 2010 to the present. Based on the Technical Associates of Georgia, Inc. Employee Stock

Ownership Trust Agreement (“Trust Agreement”) dated January 16, 2013, Hogue also is or was

a Trustee of the ESOP. As one of the Trustees of the ESOP, Hogue is a fiduciary of the ESOP

within the meaning of ERISA § 3(21), 29 U.S.C § 1002(21). Based on a Director Consent of the



                                                 4
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 5 of 36




Board of Directors of the Company dated August 16, 2006, Hogue is and has been a member of

the Technical Associates Board of Directors. Because the Board of Directors has the power to

appoint and remove the Trustees of the ESOP and appoint the members of the Administrative

Committee, Defendant Hogue is a fiduciary of the ESOP within the meaning of ERISA § 3(21),

29 U.S.C § 1002(21). Based on an undated resolution of the ESOP Administrative Committee

bearing the notation “[f]or the year 2009,” Defendant Hogue is and has been a member of the

Administrative Committee since 2009. Because the Committee is the Plan Administrator,

Defendant Hogue is also a fiduciary of the ESOP within the meaning of ERISA § 3(21), 29

U.S.C § 1002(21). As an officer of Technical Associates, Defendant Hogue is and has been since

at least April 2010 a “party-in-interest” within the meaning of ERISA § 3(14)(H), 29 U.S.C. §

1002(14)(H). As a fiduciary of the ESOP, Defendant Hogue is and has been a “party-in-interest”

within the meaning of ERISA § 3(14)(A), 29 U.S.C. § 1002(14)(A).

       11.    Defendant Graham Thompson is the CFO and President of Engineering of

Technical Associates. According to annual statements filed with the Georgia Secretary of State,

Thompson has been CFO of Technical Associates from at least April 1, 2010 to the present.

Based on the 2013 Trust Agreement, Thompson also is or was a Trustee of the ESOP. As one of

the Trustees of the ESOP, Hogue is a fiduciary of the ESOP within the meaning of ERISA §

3(21), 29 U.S.C § 1002(21). Based on a Director Consent of the Board of Directors of the

Company dated August 16, 2006, Thompson is and has been a member of the Technical

Associates Board of Directors. Because the Board of Directors has the power to appoint and

remove the Trustees of the ESOP and appoint the members of the Administrative Committee,

Defendant Thompson is a fiduciary of the ESOP within the meaning of ERISA § 3(21), 29 U.S.C

§ 1002(21). Based on his signing the IRS Form 5550s on behalf of the ESOP’s Administrative



                                               5
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 6 of 36




Committee every year since 2009 and on an undated resolution of the ESOP Administrative

Committee bearing the notation “[f]or the year 2009,” Defendant Thompson is and has been a

member of the Administrative Committee. Because the Committee is the Plan Administrator,

Defendant Thompson is also a fiduciary of the ESOP within the meaning of ERISA § 3(21), 29

U.S.C § 1002(21). As an officer of Technical Associates, Defendant Thompson is and has been

since April 2010 or earlier a “party-in-interest” within the meaning of ERISA § 3(14)(H), 29

U.S.C. § 1002(14)(H). As a fiduciary of the ESOP, Defendant Thompson is and has been a

“party-in-interest” within the meaning of ERISA § 3(14)(A), 29 U.S.C. § 1002(14)(A).

       12.     Defendant Glenn Kirbo was a Trustee of the ESOP from the ESOP’s inception

until at least until June 22, 2011. In addition, Kirbo is and has been a member of the Technical

Associates Board of Directors since 2011 or earlier. Because the Board of Directors has the

power to appoint and remove the Trustees of the ESOP and appoint the members of the

Administrative Committee, Defendant Kirbo is a fiduciary of the ESOP within the meaning of

ERISA § 3(21), 29 U.S.C § 1002(21). Finally, Defendant Kirbo is and has been a member of the

Administrative Committee since 2011 or earlier. Because the Committee is the Plan

Administrator, Defendant Kirbo is also a fiduciary of the ESOP within the meaning of ERISA §

3(21), 29 U.S.C § 1002(21). As a fiduciary of the ESOP, Defendant Kirbo is and has been a

“party-in-interest” within the meaning of ERISA § 3(14)(A), 29 U.S.C. § 1002(14)(A).

       13.     Defendant Randy Hall is and has been a member of the Technical Associates

Board of Directors since June 22, 2011. Because the Board of Directors has the power to appoint

and remove the Trustees of the ESOP and appoint members of the Administrative Committee,

Defendant Hall is a fiduciary of the ESOP within the meaning of ERISA § 3(21), 29 U.S.C §




                                                6
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 7 of 36




1002(21). As a fiduciary of the ESOP, Defendant Hall is and has been a “party-in-interest”

within the meaning of ERISA § 3(14)(A), 29 U.S.C. § 1002(14)(A).

       14.     Defendant James Urbach was the Trustee of the ESOP for purposes of the 2011

Refinancing. The Board of Directors of Technical Associates appointed Urbach as Trustee

effective June 22, 2011. Based on a document entitled “Removal of Special Fiduciary Under the

Technical Associates of Georgia, Inc. Employee Stock Ownership Trust,” Defendant Urbach was

also removed as a Special Fiduciary of the ESOP effective June 22, 2011. Urbach is an attorney

who resides in and who purports to maintains a law practice in or around Jacksonville, Florida. A

search of the Florida Bar website, however, did not list a James Urbach as licensed to practice

law in Florida. As a fiduciary of the ESOP, Defendant Urbach is and has been a “party-in-

interest” within the meaning of ERISA § 3(14)(A), 29 U.S.C. § 1002(14)(A).

       15.     The “Committee Defendants” refers collectively to the Committee itself and to

Defendants Hogue, Thompson, and Kirbo. As the Committee is the Plan Administrator

according to the Section 8.2 of the 2013 Plan Document, the Committee Defendants are

fiduciaries of the ESOP within the meaning of ERISA § 3(21), 29 U.S.C § 1002(21).

       16.     The “Director Defendants” refers to Defendants Hogue, Kirbo, Hall, and

Thompson. As the Board of Directors has the power to appoint and remove the Trustees of the

ESOP and the members of the Administrative Committee, the Director Defendants are

fiduciaries of the ESOP within the meaning of ERISA § 3(21), 29 U.S.C § 1002(21).

       Nominal Defendant

       17.     The Technical Associates of Georgia, Inc. Employee Stock Ownership Plan (the

“ESOP”) is an “employee pension benefit plan” within the meaning of ERISA § 3(2)(A), 29

U.S.C. § 1002(2)(A). The ESOP purports to be a “defined contribution plan” within the meaning



                                                7
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 8 of 36




of ERISA § 3(34), 29 U.S.C. § 1002(34) and an employee stock ownership plan under ERISA §

407(d)(6), that was intended to meet the requirements of Section 4975(e)(7) of the Internal

Revenue Code (the “Code”) and IRS Regulations § 54.4975-11. The written instrument by which

the Plan is currently maintained within the meaning of ERISA § 402, 29 U.S.C. § 1102,

(colloquially referred to as the “Plan Document”) is the “Technical Associates of Georgia, Inc.

Employee Stock Ownership Plan as Amended and Restated Generally Effective as of January 1,

2013” (the “2013 Plan Document”). According to the 2013 Plan Document, there was a prior

Plan Document which the Plan Administrator has declined to provide. The only document

provided by Defendants that appears to be a written instrument of the Plan consists of a

document effective January 1, 2006 (“the 2006 Plan Document”); however, Plaintiffs do not

know if there was any other written instrument of the Plan between the 2006 Plan Document and

the 2013 Plan Document. The ESOP is named as a nominal defendant pursuant to Federal Rule

of Civil Procedure 19 to ensure that complete relief can be granted as to claims brought on behalf

of the ESOP.

                                        CLASS ALLEGATIONS

       18.     Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of the following Class:

       Participants in the Technical Associates ESOP on or after the date stock was

       issued to Defendants Hogue and Thompson in connection with the 2011

       Refinancing who vested under the terms of the Plan (or ERISA) and those

       participants’ beneficiaries.

Excluded from the Class are Defendants and their immediate families, any other fiduciary of the

Plan and his or her immediate family; the officers and directors of Technical Associates and their



                                                 8
           Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 9 of 36




immediate family, and legal representatives, successors, and assigns of any such excluded

persons.

       Impracticality of Joinder.

       19.     The members of the Class are so numerous that joinder of all members is

impracticable. According to the Form 5500 that Technical Associates filed with the Department

of Labor for the year ending December 31, 2011, the ESOP had 245 participants at the beginning

of the plan year and 332 participants at the end of the plan year. According to the Form 5500 that

Technical Associates filed with the Department of Labor for the year ending December 31, 2017,

which is the most recent Form 5500 available, the ESOP had 392 participants at the beginning of

the plan year and 353 participants at the end of the plan year. Most, if not all, of the ESOP

participants likely had at least one beneficiary because every married participant had at least one

beneficiary (i.e. a spouse) and some participants likely designated more than one beneficiary. As

such, the class consists of at least several hundred persons.

       20.     Additionally, the website of Technical Associates identifies the following

corporate locations: Albany, Georgia; Atlanta, Georgia; Jacksonville, Florida; Alexandria,

Louisiana; Columbus, Ohio; Cleveland, Tennessee; and Jackson, Tennessee. Accordingly, the

participants of the ESOP are likely located in these locations. Joinder is impracticable because

Class members are geographically dispersed.

       Commonality:

       21.     The issues of liability are common to all members of the Class and are capable of

common answers as those issues primarily focus on Defendants’ acts. The common issues

include whether Defendants breached fiduciary duties to the ESOP, whether Defendants engaged

in prohibited transactions, and the appropriate relief for Defendants’ violations of ERISA.



                                                  9
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 10 of 36




         Typicality:

         22.    Plaintiffs’ claims are typical of the claims of other members of the Class because

their claims arise from the same event, practice and/or course of conduct. Specifically, Plaintiffs,

on behalf of the Class, alleged that Defendants engaged in prohibited transactions and breaches

of fiduciary duty in connection with the 2011 Refinancing.

         23.    Plaintiffs’ claims are also typical of the claims of other members of the Class

because the relief sought consists of requiring Defendants to make the Plan whole for any losses

caused by their fiduciary breaches and to disgorge their profits to the Plan. Any such recovery

from Defendants will be paid to the Plan and any relief will flow to all Class Members through

their accounts in the Plan.

         Adequacy:

         24.    Plaintiffs will fairly and adequately represent and protect the interests of the

Class.

         25.    Plaintiffs do not have any interests antagonistic to or in conflict with those of the

Class.

         26.    Defendants have no unique defenses against Plaintiffs that would interfere with

Plaintiffs’ representation of the Class.

         27.    Plaintiffs are represented by counsel with extensive experience prosecuting

ERISA class actions and with particular experience and expertise in ESOP litigation.

         Rule 23(b)(1)

         28.    The requirements of Fed. R. Civ. P. 23(b)(1)(A) are satisfied. Fiduciaries of

ERISA-covered plans have a legal obligation to act consistently with respect to all similarly

situated participants and to act in the best interests of the Plan and its participants. This action



                                                  10
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 11 of 36




challenges whether Defendants acted consistently with their obligations under ERISA as to the

Technical Associates ESOP as a whole. As a result, prosecution of separate actions by individual

members would create the risk of inconsistent or varying adjudications that would establish

incompatible standards of conduct relating to the Plan.

       29.     The requirements of Fed. R. Civ. P. 23(b)(1)(B) are also satisfied. Administration

of an ERISA-covered plan requires that all similarly situated participants be treated the same.

Resolving whether Defendants engaged in prohibited transactions with respect to the Plan and

fulfilled their fiduciary obligations to the Plan would, as a practical matter, be dispositive of the

interests of the other participants in the Technical Associates ESOP even if they are not parties to

this litigation and would substantially impair or impede their ability to protect their interests if

they are not made parties to this litigation by being included in the Class.

       Rule 23(b)(2)

       30.     The requirements of Fed. R. Civ. P. 23(b)(2) are satisfied as to the Class because

Defendants have acted and/or failed to act on grounds generally applicable to the Class, making

declaratory and injunctive appropriate with respect to the Class as a whole. This action

challenges whether Defendants engaged in prohibited transactions, which would be violations of

ERISA as to the ESOP as a whole and as to the Class as a whole. The relief sought in this case

primarily consists of declarations that Defendants engaged in prohibited transactions or breached

their fiduciary duties. As ERISA is based on trust law, any monetary relief consists of equitable

monetary relief that would either flow directly by the declaratory or injunctive relief or flows as

a necessary consequence of that relief.




                                                  11
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 12 of 36




       Rule 23(b)(3)

       31.     The requirements of Fed. R. Civ. P. 23(b)(3) are also satisfied. The common

questions of law and fact concern whether Defendants engaged in prohibited transactions or

breached their fiduciary duties to the ESOP. As the members of the Class were participants in

that Plan, their accounts were affected by those breaches and violations. Common questions

related to liability will necessarily predominate over any individual questions precisely because

Defendants’ duties and obligations were uniform to all participants and therefore all members of

the Class. As relief and any recovery will be on behalf of the Plan, common questions as to

remedies will likewise predominate over any individual issues.

       32.     A class action is a superior method to other available methods for the fair and

efficient adjudication of this action. As the claims generally are brought on behalf of the Plan,

resolution of the issues in this litigation will be efficiently resolved in a single proceeding rather

than multiple proceedings and each of those individual proceedings could seek recovery for the

entire Plan. Class certification is a superior method of proceeding because it will obviate the

need for unduly duplicative litigation which might result inconsistent judgments about

Defendants’ duties with regard to the ESOP.

       33.     The following factors set forth in Rule 23(b)(3) also support certification:

               a.      The members of the Class have an interest in a unitary adjudication of the

               issues presented in this action for the reasons that this case should be certified

               under Rule 23(b)(1).

               b.      No other litigation concerning this controversy has been filed by any other

               members of the Class.




                                                  12
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 13 of 36




               c.        This District is the most desirable location for concentrating this litigation

               because (i) Technical Associates is located in this District; (ii) the Technical

               Associates ESOP is administered in this District; (iii) Defendants Hogue and

               Thompson are located in this District; (iv) a significant number if not the majority

               of the Class members are located in this District, and (v) a number of the

               witnesses, including a number of relevant non-party witnesses, are expected to be

               located in this District.

               d.        There are no anticipated difficulties in managing this case as a class

               action.

                                    FACTUAL ALLEGATIONS

       34.     Technical Associates of Georgia, Inc. is a Georgia corporation, formed in 1980.

According its Articles of Incorporation dated September 20, 1980, Technical Associates was

organized for the purpose of, among other things, providing “contract technical and maintenance

services for industry and industrial support related companies,” and its initial board of directors

consisted of Randall E. Wages and Stephen H. Harrison.

       35.     According to Section 1.2 of the 2013 Plan Document, the Plan was originally

established effective January 1, 2006. According to correspondence from James H. Moore, III,

counsel for Technical Associates and its Board of Directors, to Plaintiff Nelson Gamache dated

May 23, 2018 (the “May 23, 2018 Letter”), the ESOP “was established in August 2006 as a

method by which the ownership interests in the Company of the [selling shareholders] … could

be purchased, after which time they retired from active involvement in the Company’s day to day

operations and their responsibilities were assumed by co-lead executives, John Hogue and

Graham Thompson.”



                                                   13
           Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 14 of 36




       The Fiduciaries of the ESOP

       36.      According to Section 1.4 of the 2013 Plan Document, the ESOP is administered

by an Administrative Committee. According to Section 8.2 of the 2013 Plan Document, the

Committee is appointed by the Board of Directors and performs the day-to-day administration of

the Plan. Section 8.2 of the Plan Document provides that “the Company will notify … the

Participants of the Committee’s membership.” Despite that provision, Plaintiffs are unaware of

receiving any such notification about the membership of the Committee. The Summary Plan

Description (“SPD”) which is distributed to participants affirmatively states that the “Board of

Directors has appointed the Administrative Committee” to act on behalf of the Company in

performing administrative duties with respect to the Plan, but does not identify the members of

the Committee. Based on information from Defendants’ counsel, Defendants Hogue, Thompson,

and Kirbo have been the members of the Administrative Committee since inception of the ESOP.

       37.      According to Section 1.5 of the 2013 Plan Document, funds contributed to the

Plan are held and invested in a trust by one or more Trustees appointed by Technical Associates

and in accordance with the terms of one or more trust agreements. According to Section 2.3 of

the 2013 Trust Agreement, the powers, rights, and duties of the Trustees include to receive and

hold plan contributions, to vote any stocks held by the Plan, and to perform any and all acts

necessary or appropriate for the proper management, investment and distribution of the Trust.

Based on the 2011 Refinancing documents, Defendant Urbach replaced Defendant Kirbo as the

Trustee of the ESOP on June 22, 2011. Based on the 2013 Trust Agreement, Defendants Hogue

and Thompson were Trustees of the ESOP by no later than January 1, 2013. Plaintiffs do not

know whether any other persons served as Trustees during the period from June 23, 2011 to the

present.



                                                14
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 15 of 36




       38.       According to Section 8.2 of the 2013 Plan Document, the Board of Directors of

Technical Associates is responsible for appointing the Administrative Committee. According to

the recitals to the 2013 Trust Agreement, the Board of Directors of Technical Associates is

responsible for appointing the Trustees of the ESOP. Based on information from Defendants’

counsel, Defendants Hogue, Thompson, Kirbo and Hall are and have been members of the Board

of Directors of Technical Associates since the time of the 2011 Refinancing.

       The ESOP’s Purchase of Company Stock

       39.       Based on the ESOP’s 2009 through 2014 Form 5500 filings—which are annual

reports and financial statements for employee benefit plans filed under penalty of perjury by the

Plan Administrator with the Department of Labor and the Department of the Treasury, but are

not distributed to plan participants unless specifically requested in writing by a specific

participant—the ESOP purchased all the outstanding stock of the Company from Randall Wages

and Stephen Harrison (the “Selling Shareholders”) in 2006. The Form 5500s for the Technical

Associates ESOP were not provided to the ESOP participants unless a participant made a

specific request for them.

       40.       The ESOP made the 2006 purchase using a cash contribution from the Company

in the amount of $1.5 million and term loans from the Selling Shareholders in the amount of

$16.0 million.

       41.       In connection with the 2006 Transaction, Defendants Hogue and Thompson each

received grants of Company stock and stock options. These grants and options vested over time

such that, as of year-end 2010, Defendants Hogue and Thompson each owned approximately

1.4% of the outstanding stock of Technical Associates, and the ESOP owned the remaining

approximately 97.2% of Company stock.



                                                 15
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 16 of 36




       42.      In the September 2016 meeting between Plaintiff Gamache and Defendant

Thompson, Thompson revealed for the first time to Plaintiff Gamache that the ESOP no longer

owned 100% of the Company. This was the first known disclosure by any ESOP fiduciary to any

ESOP participant (other than Defendants themselves) that the ESOP had ceased to own 100% of

the shares of Technical Associates. In the May 23, 2018 Letter, the Board informed Plaintiff

Gamache that the ESOP had ceased to own 100% of the stock of Technical Associates as part of

a refinancing that occurred in 2011, the first known written disclosure of that fact to any ESOP

participant.

       The 2011 Refinancing of the ESOP Loan

       43.      All of the ESOP’s outstanding debt to the Selling Shareholders was refinanced

through a set of interrelated agreements which together constituted the 2011 Refinancing.

       44.      As part of the 2011 Refinancing, the Company borrowed $8 million from Atlantic

Capital Bank. As a condition of the Company obtaining the bank loan as part of the 2011

Refinancing, the Selling Shareholders assigned their ESOP loans to the Company via an

Assignment Agreement by and among the Company, the ESOP, and the Selling Shareholders. In

the 2011 Refinancing, the Company used the proceeds of the bank loan to repay the Selling

Shareholders.

       45.      As part of the 2011 Refinancing, the ESOP simultaneously entered into an ESOP

Note in favor of the Company in the amount of $7,528,380.

       46.      As part of the 2011 Refinancing, Atlantic Capital Bank required the ESOP and the

Company to enter into an ESOP Loan and Pledge Agreement, in which the ESOP pledged all

shares of Company stock held by the ESOP but not yet allocated to participants (“unallocated




                                                16
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 17 of 36




shares”) to the Company. The Company, in turn, pledged all of the ESOP’s unallocated shares

to Atlantic Capital Bank to secure the loan.

       47.     As part of the 2011 Refinancing, Defendants Thompson and Hogue personally

guaranteed the loan from Atlantic Capital Bank. Hogue and Thompson obtained warrants for

issuance of stock (“the contingent warrants”) from the Company and pledged the contingent

warrants to the Company as collateral for the loan. The combined contingent warrants were

sufficient to give Atlantic Capital Bank a 50.1% interest in the outstanding common stock of

Technical Associates in the event of default on the loan. The stock was valued at one cent per

share for purposes of the contingent warrants.

       48.     Defendants Hogue and Thompson received, as part of and following the 2011

Refinancing, additional grants of Company stock and stock options as well as cash payments.

Specifically, Hogue and Thompson each received the option to purchase up to 4,901 shares of

common stock of Technical Associates at an exercise price of $68.21 per share, vesting monthly

over a five year period, and a “guarantee fee” in the form of a grant of 6,665 shares of common

stock of Technical Associates each (plus $335,037 in cash).

       49.     In addition, as part of the 2011 Refinancing the Company agreed to issue 12,941

shares of common stock of Technical Associates each to Defendants Hogue and Thompson in

exchange for promissory notes in the amount of $882,706 each ($68.21 per share). These notes

provided for forgiveness of principal and interest by the Company on each anniversary of the

original issue date as long as Hogue and Thompson remained employees of the Company.

       50.     According to the May 23, 2018 Letter, the total number of authorized shares of

the Company was increased because the number of authorized shares was “insufficient to allow

stock to be issued as necessary in connection with the 2011 financing.” Consistent with that



                                                 17
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 18 of 36




statement, on August 22, 2011, Mr. Hogue signed and filed the Company’s amended Articles of

Incorporation to provide authority for the Company to issue up to 300,000 shares of common

stock.

         51.   As a result of the stock grants to Defendants Hogue and Thompson in connection

with the 2011 Refinancing, the ESOP’s ownership stake in the Company declined substantially.

The stock options Defendants Hogue and Thompson obtained in the 2011 Refinancing vested

over time, and based on the statement by Defendant Thompson in September 2016, Hogue and

Thompson have exercised some or all of their options available to date.

         52.   Based on the statement by Defendant Thompson in September 2016, following

the 2011 Refinancing the collective interest of Defendants Hogue and Thompson in Technical

Associates amounted to approximately 40% of the Company and had a value of approximately

$8 million. As a result, between 2011 and 2016 the ESOP’s ownership stake decreased from

approximately 97.2% to approximately 60%.

         53.   The issue of new common stock to Defendants Hogue and Thompson in

connection with or following the 2011 Refinancing diluted the value of the Technical Associates

stock held by the ESOP and the value of its participants’ interests in the Company.

         54.   Defendant Urbach, in his capacity as Trustee of the ESOP, voted the allocated and

unallocated shares of the ESOP in favor of the 2011 Refinancing, stating in the Consent Action

of Shareholder of Technical Associates of Georgia, Inc. that he “believe[d] it to be in the best

interest of the Corporation that the Corporation enter into the ACB Loans.”

         55.   Willamette Management Associates provided a letter to Defendant Urbach dated

August 22, 2011, opining that the 2011 Refinancing (including the stock grants and options and

other forms of executive compensation to Defendants Hogue and Thompson) was fair to the



                                                18
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 19 of 36




ESOP “from a financial point of view” (the “Fairness Opinion”). This “Fairness Opinion”

described the transaction, but did not contain any financial analysis and did not consider any

actual or potential dilutive impact of the 2011 Refinancing on the value of the ESOP’s shares.

       56.     Nothing in the Transaction Binder evidences that Defendant Urbach as Trustee

undertook any analysis or consideration of whether the benefits of the 2011 Refinancing to the

ESOP – namely, a reduction of the interest rate on the ESOP’s indebtedness – outweighed its

costs, such as the dilution of the ESOP’s ownership of the Company and the associated loss of

future dividend payments. Based on the lack of any such documentation, Defendant Urbach as

Trustee either failed to consider or failed to adequately consider whether the 2011 Refinancing

was in the best interests of the ESOP.

       57.     Nothing in the Transaction Binder suggests that the Committee considered

whether the 2011 Refinancing was in the best interests of the ESOP.

       58.     According to the ESOP’s 2012 Form 5500 filing, in December 2012 the Company

refinanced its debt to Atlantic Capital Bank with SunTrust Bank.

       59.     In 2013, the Company began issuing dividends on its common stock for the first

time since 2006, as documented by the ESOP’s Form 5500 filings. Upon information and belief,

as shareholders, Defendants Hogue and Thompson also received dividends in 2013 as a result of

their ownership of Technical Associates stock. The payment of dividends in 2013 to Hogue and

Thompson has never been disclosed to the participants of the ESOP.

       60.     The Company continued to issue dividends through at least 2017, as documented

by the ESOP’s Form 5500 Filings. Upon information and belief, as shareholders, Defendants

Hogue and Thompson also received dividends in 2014, 2015, 2016 and 2017 as a result of their




                                                19
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 20 of 36




ownership of Technical Associates stock. The payment of dividends in 2014 through 2017 to

Hogue and Thompson has never been disclosed to the participants of the ESOP.

Defendants Engaged in Fraud or Concealment to Hide their Acquisition of Stock

       61.     Defendants Hogue and Thompson took affirmative steps to conceal from the

ESOP participants that Hogue and Thompson had received Technical Associates stock and that

the receipt of this stock would dilute the value of the stock held by the ESOP.

       62.     In August 2016, Mr. Gamache and Defendant Thompson met at the Company’s

Albany office to discuss Mr. Gamache’s compensation. During this meeting, Thompson stated to

Mr. Gamache that he could learn more about the ESOP by reviewing the Form 5500 filings

available from the Department of Labor’s website. In September 2016, Mr. Gamache and

Defendant Thompson again met at the Company’s Albany office. In response to questioning

from Mr. Gamache about the substance of the Form 5500 filings and the ESOP’s financial

statements, Thompson revealed at this meeting—for the first time—that the ESOP did not own

100% of the Company. Rather, Thompson explained, Defendants Thompson and Hogue

collectively held a 40% interest in the Company.

       63.     After the September 2016 meeting with Defendant Thompson, Mr. Gamache

began to undertake an investigation to determine when and how Defendants Thompson and

Hogue had come to be part-owners of the Company. Among other things, Mr. Gamache

obtained a copy of the Amended Articles of Incorporation that authorized the issuance of

additional shares. In addition, Mr. Gamache attempted to and did obtain certain other documents

in an effort to ascertain the circumstances surrounding this acquisition of Company stock by Plan

fiduciaries and whether this acquisition of stock violated the law.




                                                20
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 21 of 36




       64.     As part of this investigation, Mr. Gamache reviewed the Form 5500s that were

filed with the Department of Labor and other documents that he had been provided as a

participant in the ESOP. Yet, Mr. Gamache was unable to find any document that disclosed that

the ESOP owned anything less than 100% of the Company. Further, until Mr. Gamache

informed him that the ESOP did not own 100% of Technical Associates (sometime after the

meeting with Thompson), Mr. Nofi was unaware that the ESOP did not own 100% of the

Company.

       65.     After the 2011 Refinancing, the Form 5500s for 2011 through 2014, which were

signed under penalty of perjury by Graham Thompson and filed with the Department of Labor

and Department of Treasury, continued to state in Note 6 to the Financial Statements that the

ESOP had “purchased all of the outstanding stock of the Company from its two former

shareholders.” These repeated statements were misleading because nothing in the Form 5500s

between 2011 and 2017 (the last of which was filed on October 3, 2018 and is the most recent

available Form 5500) disclosed that the ESOP, despite having purchased 100% of the stock of

the Company in 2006, owned anything less than 100% of the Company. These repeated

statements created the false impression that the ESOP continued to own 100% of the Company.

       66.     The 2011 Form 5500, signed under penalty of perjury by Defendant Thompson,

affirmatively stated on Part IV Line 4(d) that there were no non-exempt transactions with any

party-in-interest. Additionally, Note 7 of the Financial Statements to the 2011 Form 5500,

entitled “Related Party Transactions,” fails to disclose the existence of any acquisition of stock

by any key executives, all of whom would have been parties-in-interest. These statements were

false and/or misleading because the acquisition of stock by Defendants Hogue and Thompson in

connection with the 2011 Refinancing constituted non-exempt transactions with parties-in-



                                                 21
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 22 of 36




interest, and these statements had the effect of concealing the acquisition of stock by such

parties-in-interest in the 2011 Refinancing.

       67.     As employees who spent many years working at Technical Associates who were

employed in 2006 when the ESOP initially purchased shares of the Company, Plaintiffs were

informed around the time of the initial ESOP transaction that the ESOP purchased 100% of

Technical Associates and were subsequently reminded that the ESOP owned 100% of the

Company. Defendants Thompson and Hogue, as well as other management of Technical

Associates, informed Plaintiffs and other participants on multiple occasions over the course of

subsequent years that the Company was “ESOP-owned” or “employee-owned.” Defendant

Thompson repeatedly stated to employees in staff meetings that “this is your company” and

“you’re the owners.” These statements were false and/or misleading after 2011 because

following the 2011 Refinancing and the issuing of additional stock to Defendants Hogue and

Thompson, the Company was only partially owned by the ESOP, while Thompson’s statements

created the false impression that the ESOP still owned 100% of the Company.

       68.     At a 2014 staff meeting at the Company’s Albany office attended by Plaintiff

Gamache, Defendant Thompson was asked about depreciation in the value of the ESOP over the

prior two years. Defendant Thompson described this depreciation as the result of “bank

juggling.” This statement was false and/or misleading, because the depreciation in the value of

the ESOP was due, at least in part, to the dilution of its value in connection with Defendants

Thompson and Hogue’s acquisition of a 40% interest in the Company.

       69.     Until the September 2016 meeting between Mr. Gamache and Defendant

Thompson, no fiduciary of the ESOP ever informed either Plaintiff that the ESOP ceased to own

100% of the Company. Until the May 23, 2018 Letter, no fiduciary of the ESOP ever disclosed



                                                22
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 23 of 36




in writing to either Plaintiff or any other participant (other than Defendants themselves) that the

ESOP ceased to own 100% of the Company. In the May 23, 2018 Letter, the Company and the

Board of Directors refused to state the precise percentage interest of the ESOP in 2018, but only

would state that the “ESOP continues to own a majority of the outstanding stock in the

Company.” Despite making some disclosures in the May 23, 2018 Letter, the Board of Directors

(which included Hogue and Thompson) continued to conceal critical information about the

acquisition of stock by Hogue and Thompson and the percentage of stock owned by the ESOP

versus non-ESOP owners.

       70.     In the May 23, 2018 Letter, the Board of Directors disclosed that “[i]n 2011 the

Company and” an unknown and undisclosed ESOP Trustee “determined to refinance the debt

related to the initial transaction, among other reasons, to obtain a more favorable interest rate.” In

the May 23, 2018 Letter, the Board disclosed that in connection with the 2011 Refinancing,

“additional stock was made available to key executives” but did not disclose the “key

executives” to whom such stock was “made available.”

       71.     The May 23, 2018 Letter on behalf of the Board of Directors admitted that the

fiduciaries of the ESOP, including the ESOP Trustees Hogue and Graham, had never

“inform[ed]” “the “ESOP participants” that the ESOP Trustees had acquired and owned

Technical Associates stock outside the ESOP (i.e. other than as participants in the ESOP). This

decision to conceal changes in the ownership structure of the Company from participants was

misleading because participants had previously been told that the ESOP owned 100% of the

Company and were consistently told that they remained “the owners” – implicitly, the sole

owners – of Technical Associates. Additionally, the failure to disclose the change in ownership




                                                 23
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 24 of 36




structure was designed to and did conceal the prohibited transactions through which Plan

fiduciaries acquired interest in the Company and diluted the value of the ESOP’s shares.

       72.     Indeed, the Director Defendants including Hogue and Thompson concealed the

details of the 2011 Refinancing, the acquisition of Technical Associates stock by Hogue and

Thompson and the percentage ownership of the Company until after Plaintiffs filed this lawsuit

and Plaintiffs informed Defendants’ counsel that Plaintiffs intended to seek discovery. Even

now, Plaintiffs do not know precisely the amount of shares that Defendants Hogue and

Thompson have obtained or the ESOP’s percentage ownership of the Company.

       73.     As a result of their concealment of this information about their acquisition and

ownership of Company stock following the 2011 Refinancing, Defendants Hogue and Thompson

were able to hide their ownership and siphon not only ownership but also dividends away from

ESOP participants. Additionally, concealment by Defendants Hogue and Thompson and the

Committee Defendants of the fact that Hogue and Thompson had obtained stock ownership in

the 2011 Refinancing was done to prevent participants in the ESOP from challenging this

conflicted transaction and prevented Plaintiffs from challenging the transaction shortly after the

acquisition.

Plaintiffs Have Adequately Exhausted Their Administrative Remedies

       74.     On April 16, 2018, Mr. Gamache sent a letter to the Company, via the Board of

Directors, raising his concerns that the ESOP Trustees had acquired an ownership interest in the

Company to the detriment of the ESOP and its participants and requesting that action be taken to

remedy this issue, including by removing the ESOP Trustees.

       75.     The Company and its Board of Directors responded to Mr. Gamache by their May

23, 2018 Letter. In that letter, the Company and the Board took the position that providing stock



                                                24
          Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 25 of 36




to the key executives – who are now known to be exclusively Hogue and Thompson – in

connection with the 2011 Refinancing was proper and that there was no requirement to inform

the participants that the ESOP no longer owned 100% of the Company.

          76.   On May 24, 2018, Mr. Gamache responded by requesting further clarification of

the information in the May 23, 2018 Letter.

          77.   In response to Mr. Gamache’s May 24, 2018 email, counsel for the Company and

the Board responded on May 25, 2018 that the Company and “the Board will not be providing

[him] with additional information and will not respond further to [his] inquiries.”

          78.   Based on the Company and Board’s refusal to take any action in response to Mr.

Gamache’s inquiry and the refusal of the Company and the Board to respond to further inquiries

by Mr. Gamache, any attempt at further exhaustion of remedies by Mr. Gamache would have

been futile. For similar reasons, had Mr. Nofi or other Class members raised similar questions

and made similar requests, the Company and the Board would have responded similarly. As

such, any attempt at exhaustion by Mr. Nofi and other class members would have also been

futile.

          79.   Without the cooperation of the Board or the Company, Mr. Gamache continued

his investigation, including by filing a Freedom of Information Act request with the Department

of Labor on October 1, 2018. The Department of Labor purportedly issued a letter that provided

responsive, non-exempt documents on November 5, 2018; however, the documents were not

delivered to Mr. Gamache until January 10, 2019.




                                                25
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 26 of 36




                                          COUNT I
                           Prohibited Transactions in Violation of
                      ERISA § 406(b)(1) & (3), 29 U.S.C. § 1106(b)(1) & (3)
                          Against Defendants Hogue and Thompson

        80.     Plaintiffs incorporate and re-allege by reference each of the foregoing paragraphs

as if fully set forth herein.

        81.     ERISA § 406(b), 29 U.S.C. § 1106(b) provides in relevant part that (1) “a

fiduciary with respect to a plan shall not deal with the assets of the plan in his own interest or for

his own account” and (3) “a fiduciary with respect to a plan shall not receive any consideration

for his own personal account from any party dealing with such plan in connection with a

transaction involving the assets of the plan.”

        82.     As members of the Board of Directors and as members of the Administrative

Committee that served as the Plan Administrator, Defendants Hogue and Thompson were both

fiduciaries of the Plan at the time of the 2011 Refinancing.

        83.     The 2011 Refinancing was a transaction involving the assets of the ESOP: the

unallocated shares of the ESOP were pledged to the Company as collateral for the bank loan

used to refinance the Selling Shareholders’ loan to the ESOP.

        84.     In the 2011 Refinancing, Defendants Hogue and Thompson each acquired

Company stock, the option to purchase Company stock in the future, and cash payments from the

Company, as well as subsequent payment of dividends, as a result of the 2011 Refinancing.

        85.     By entering into Agreements which formed a part of the 2011 Refinancing,

Defendants Hogue and Thompson dealt with the assets of the Plan in their own interest and/or

for their own account in violation of ERISA § 406(b)(1), 29 U.S.C. § 1106(b)(1).

        86.     By acquiring Technical Associates stock as part of and/or in connection with the

2011 Refinancing, the option to purchase Company stock in the future, and cash payments from


                                                  26
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 27 of 36




the Company, as well as subsequent payment of dividends, Defendants Hogue and Thompson

each received consideration for their personal account from the Company, a party dealing with

the Plan in connection with the 2011 Refinancing, a transaction involving the assets of the Plan,

in violation of ERISA § 406(b)(3), 29 U.S.C. § 1106(b)(3).

                                           COUNT II
                             Prohibited Transactions in Violation of
                         ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D)
                        Against Defendants Urbach, Hogue and Thompson

        87.     Plaintiffs incorporate and re-allege by reference each of the foregoing paragraphs

as if fully set forth herein.

        88.     ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D), provides that “a fiduciary with

respect to a plan shall not cause the plan to engage in a transaction, if he knows or should know

that such transaction constitutes a direct or indirect . . . transfer to, or use by or for the benefit of,

a party in interest, of any assets of the plan and a party in interest.”

        89.     As Trustee of the ESOP, Defendant Urbach was the named fiduciary with full

authority to approve or disapprove and who did cause the 2011 Refinancing on behalf of the

Plan.

        90.     ERISA § 3(14), 29 U.S.C. § 1002(14), defines a “party in interest” to include (A)

“any fiduciary . . . of such employee benefit plan,” (C)“an employer any of whose employees are

covered by such plan,” and (H) any employee, officer, or director of such employer. As members

of the Board of Directors, members of the Committee and/or as Trustees and as employees,

directors and officers of Technical Associates, Defendants Hogue and Thompson were parties in

interest pursuant to ERISA § 3(14)(A) and (H).

        91.     Defendant Urbach caused the ESOP to enter into the 2011 Refinancing, which

included the pledging of ESOP shares to the Company and the issue of Company stock to


                                                    27
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 28 of 36




Defendants Hogue and Thompson. This constituted a transfer and use of the assets of the Plan to

and for the benefit of Defendants Hogue and Thompson. By causing the Plan to enter into the

2011 Refinancing, Urbach caused the plan to engage in a prohibited transaction in violation of

ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D).

        92.      Defendants Hogue and Thompson as parties-in-interest can be held liable for

knowing participation in these violations of ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D),

pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3). As parties to the transaction, officers of

the Company and/or fiduciaries of the ESOP, Defendants Hogue and Thompson knew all of the

facts sufficient to know that the 2011 Refinancing constituted a direct or indirect transaction

between the ESOP and themselves as parties-in-interest. As such, Defendants Hogue and

Thompson are liable for knowing participation in the 2011 Transaction and appropriate equitable

relief can and should be awarded against them regardless of whether they were the fiduciaries

who caused the ESOP to engage in the transactions.

                                          COUNT III
                            Breach of Fiduciary Duty Pursuant to
                ERISA § 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1) (A) and (B)
              And Co-Fiduciary Liability Pursuant to ERISA § 405, 29 U.S.C. § 1105
                   Against Defendant Urbach and the Committee Defendants

        93.      Plaintiffs incorporate and re-allege by reference each of the foregoing paragraphs

as if fully set forth herein.

        94.      ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires that a plan fiduciary

discharge his or her duties with respect to a plan solely in the interest of the participants and

beneficiaries and (A) for the exclusive purpose of (i) providing benefits to participants and their

beneficiaries; and …. (B) with “care, skill, prudence, and diligence.”




                                                  28
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 29 of 36




        95.     ERISA § 405, 29 U.S.C. § 1105, makes a fiduciary of a Plan liable for another

fiduciary of the same plan’s breach when (2) “by his failure to comply with section 404(a)(1) in

the administration of his specific responsibilities which give rise to his status as a fiduciary, he

has enabled such other fiduciary to commit a breach;” or (3) “he has knowledge of a breach by

such other fiduciary, unless he makes reasonable efforts under the circumstances to remedy the

breach.”

        96.     Defendant Urbach and the Committee Defendants breached their fiduciary duties

with respect to the Plan by failing to adequately consider whether the 2011 Refinancing was in

the best interests of the ESOP, failing to consider the dilutive impact of the 2011 Refinancing on

the value of the shares held by the ESOP and its participants, failing to consider whether the

benefits of the 2011 Refinancing outweighed the costs or negatives to the Plan and participants,

and failing to exercise appropriate prudence and diligence by obtaining a thorough, detailed

analysis of the 2011 Refinancing from a qualified expert. In addition, Defendant Urbach

breached his fiduciary duty when he approved the 2011 Refinancing based on his stated belief

that it was in the best interests of the Company (as opposed to the best interests of the ESOP or

its participants).

        97.     Pursuant to Section 8.5(f) of the 2013 Plan Document, the Administrative

Committee has the power and duties necessary “to discharge its obligations under the Plan and

Trust Agreement, including, but not limited to… to appoint or employ providers of legal services

to assist in the administration of the Plan.”

        98.     Pursuant to the 2006 Trust Agreement, which appears to have been effective until

the adoption of the 2013 Plan Document and the 2013 Trust Agreement, the Trustee had the

power pursuant to Section VII(i) of the 2006 Trust Agreement “[t]o settle, compromise or submit



                                                  29
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 30 of 36




to arbitration, to commence or defend any suits or legal or administrative proceedings arising or

necessary or appropriate in connection with the Plan and Trust, and to represent the Plan and

Trust in all suits and legal and administrative proceedings.”

       99.     As fiduciaries of the ESOP with the powers to bring actions on behalf of the Plan,

the members of the Administrative Committee had the ability to bring actions on behalf of the

Plan pursuant to ERISA § 502(a)(2) and ERISA § 502(a)(3) since at least January 1, 2013 if not

before. To the extent that the members of the members of the Administrative Committee did not

have the ability to bring actions on behalf of the Plan pursuant to ERISA § 502(a)(2) and ERISA

§ 502(a)(3) between 2011 and December 31, 2012, the Trustee of the Plan had the authority to

bring actions on behalf of the Plan pursuant to ERISA § 502(a)(2) and ERISA § 502(a)(3).

       100.    Among the assets of an employee benefit plan under ERISA is a “chose in action”

– the right to bring an action to recover a debt, money or a thing – including to institute a lawsuit

for a breach of fiduciary duties or other violations. ERISA fiduciaries are prohibited from

engaging in transactions under ERISA § 406(a) or 406(b) unless there is an exception or

exemption, and a claim can be brought on behalf of the Plan against an ERISA fiduciary who

engages in such prohibited transactions. As a result, one of the assets of the Plan was a claim

against Hogue and Thompson for engaging in prohibited transactions for their own benefit as set

forth in Count I and Count II. By virtue of the power pursuant to the Plan, the Committee

Defendants and/or the Trustee(s) had the authority to institute the claims set forth in Counts I and

II on behalf of the Plan.

       101.    Each of the Committee Defendants and Trustee(s) either knew (because they were

parties to the transaction) or through a proper review would have discovered that Defendants

Hogue and Thompson engaged in prohibited transactions in violation of ERISA as set forth in



                                                 30
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 31 of 36




Count I and Count II and that Defendant Urbach caused the Plan to engage in the prohibited

transactions described in Count II, and that as a result the Plan was harmed (and either incurred

significant losses or was entitled to disgorgement of profits), because each of the Committee

Defendants and Trustee(s) had knowledge of the terms of the 2011 Refinancing, participated in

the approval of the same, or through a prudent and loyal investigation in their role as a member

of the Administrative Committee and/or a Trustee of the Plan would have discovered these self-

dealing transactions.

       102.    None of the Committee Defendants or Trustee(s) took any action, including any

legal action, or exercised any other authority under the 2013 Plan Document or the Trust

Agreement, to properly manage this chose in action.

       103.    By failing to remedy these prohibited transactions on behalf of the Plan, including

by, if necessary, bringing suit against Defendants Urbach, Hogue and Thompson, the Committee

Defendants and the Trustee(s) from August 23, 2011 to the present violated ERISA §§

404(a)(1)(A) and (B), 29 U.S.C. §§ 1104(a)(1)(A).

       104.    Because their fiduciary duties included employment of legal advisors, the

Committee Defendants and the Trustee(s) failed to comply with ERISA § 404(a)(1) in the

administration of their specific responsibilities as fiduciaries, and this failure enabled Defendants

Hogue and Thompson to violate ERISA in their acquisition of Technical Associates stock, their

continued ownership of Technical Associates stock and their receipt of dividends from that

stock. By failing to comply with their fiduciary duties, the Committee Defendants and the

Trustee(s) are liable under ERISA § 405(a)(2), 29 U.S.C. § 1105(a)(3).

       105.    As a result of their positions as executives of Technical Associates, and/or

because Section 8.5(b) and (c) of the 2013 Plan Document entitled them to information



                                                 31
         Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 32 of 36




necessary for proper administration of the Plan, the Committee Defendants had or would have

had knowledge of ERISA violations by Defendants Hogue and Thompson, specifically that they

had received stock in connection with the 2011 Refinancing. As the Committee Defendants have

not taken reasonable efforts to date to remedy these violations, the Committee Defendants are

liable pursuant to ERISA § 405(a)(3), 29 § U.SC. 1105(a)(3).

        106.    As the Trustee for the 2011 Refinancing, Defendant Urbach had or would have

had knowledge of ERISA violations by Defendants Hogue and Thompson, specifically that they

had received consideration for their personal accounts in connection with the 2011 Refinancing.

As Defendant Urbach did not take reasonable efforts to date to remedy these violations,

Defendant Urbach is liable pursuant to ERISA § 405(a)(3), 29 § U.SC. 1105(a)(3), along with

any other person(s) who served as Trustee between August 23, 2011 and the present.

        107.    As a result of these breaches by the Committee Defendants and the Trustee(s), the

Plan suffered losses and/or Defendants Hogue and Thompson obtained profits that rightfully

belong to the ESOP and its participants. Accordingly, the ESOP participants who are members of

the Class correspondingly suffered losses to their individual accounts.

                                        COUNT IV
                           Breach of Duty to Monitor Pursuant to
                  ERISA § 404(a)(1)(A) & (B), 29 U.S.C. § 1104(a)(1)(A) & (B)
                              Against the Director Defendants

        108.    Plaintiffs incorporate and re-allege by reference each of the foregoing paragraphs

as if fully set forth herein.

        109.    Pursuant to Section 1.5 of the 2013 Plan Document, the recitals of the Trust

Document, and Section 6.2 of the Trust Document, the Board of Directors of Technical

Associates appointed the Trustees and had the power to remove them. Pursuant to that authority,

the Director Defendants had a duty to monitor the Trustees’ conduct (i.e. Urbach, and later


                                                32
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 33 of 36




Hogue and Thompson) and to take appropriate action if those fiduciaries were not adequately

protecting the interests of the ESOP participants, including removing the Trustees and/or

correcting any breaches.

       110.    The Director Defendants had knowledge of the terms of the 2011 Refinancing

because they participated in and/or had access to the terms of the 2011 Refinancing, and because

any reasonable system for monitoring the Trustees would have revealed that Defendants Hogue

and Thompson had obtained Technical Associates stock in connection with the 2011

Refinancing. To the extent that the Director Defendants did not actually know of the facts

regarding prohibited transactions by Defendants Hogue and Thompson, the Director Defendants

either did not conduct a proper review of the Trustees’ performance or had a deficient system of

monitoring the Trustee’s actions at regular intervals.

       111.    The Director Defendants knew or, if they had properly exercised their duty to

monitor pursuant to prudent monitoring procedures in place, would have known that Defendants

Hogue and Thompson engaged in prohibited transactions and caused the ESOP to engage in

prohibited transactions in violation of ERISA as set forth in Count I and Count II

       112.    The Director Defendants nonetheless took no steps to protect Plan participants or

otherwise remedy the violations.

       113.    By failing to properly monitor and/or take appropriate action against Defendants

Hogue and Thompson, the Director Defendants breached their fiduciary duties under ERISA §

404(a)(1)(A) & (B), 29 U.S.C. § 1104(a)(1)(A) & (B).

                                 ENTITLEMENT TO RELIEF

       114.    By virtue of the violations set forth in the foregoing paragraphs, Plaintiffs and the

Class are entitled to sue each of the Defendants pursuant to ERISA § 502(a)(2), 29 U.S.C. §



                                                33
          Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 34 of 36




1132(a)(2), for relief on behalf of the Plan as provided in ERISA § 409, 29 U.S.C. § 1109,

including for recovery of any losses to the Plan, the recovery of any profits resulting from the

breaches of fiduciary duty, and such other equitable or remedial relief as the Court may deem

appropriate.

          115.   By virtue of the violations set forth in the foregoing paragraphs, Plaintiffs and the

Class are entitled pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), to sue each of the

Defendants for any appropriate equitable relief to redress the wrongs described above.

                                      PRAYER FOR RELIEF

          Wherefore Plaintiffs, on behalf of themselves and the Class, pray that judgment be

entered against Defendants on all claims, and request that the Court order or award the following

relief:

          A.     Declare any transaction that constitutes a prohibited transaction void and (1)

require Defendants Hogue and Thompson (or any other fiduciary or party-in-interest engaging in

these transactions) to disgorge any profits made as a result of such transaction; (2) declare a

constructive trust over the proceeds of any such transaction; or (3) order any other appropriate

equitable relief, whatever is in the best interest of the Plan.

          B.     Require that the proceeds of any recovery for the ESOP be allocated to the

accounts of participants in the Plan, other than the Defendants and other individuals excluded

from the Class.

          C.     Order the removal of Defendants from their positions as fiduciaries of the

Technical Associates ESOP and enjoin them from acting as fiduciaries for any employee benefit

plan that covers or includes any Technical Associates employees or any members of the Class.




                                                  34
        Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 35 of 36




       D.      Appoint an Independent Fiduciary to manage the Technical Associates ESOP to

be paid for by Defendants.

       E.      Order pursuant to ERISA § 206(d)(4) that any amount to be paid to the ESOP

accounts of the Class members can be satisfied by using or transferring any breaching fiduciary’s

ESOP account (or the proceeds of that account) to the extent of that fiduciary’s liability.

       F.      Require Defendants to pay attorneys’ fees and the costs of this action pursuant to

ERISA § 502(g)(1), 29 U.S.C. § 1132(g)(1), or order the payment of reasonable fees and

expenses to Plaintiffs’ Counsel on the basis of the common benefit or common fund doctrine (or

other applicable law) out of any money or benefit recovered for the Class in this action.

       G.      Award pre-judgment and post-judgment interest.

       H.      Award any other such relief the Court determines Plaintiffs and the Class are

entitled to pursuant to ERISA § 502(a), 29 U.S.C. § 1132(a) and pursuant to Rule 54(c) of the

Federal Rules of Civil Procedure or otherwise.




                                                 35
       Case 1:19-cv-00021-LAG Document 30 Filed 04/19/19 Page 36 of 36




Dated: April 19, 2019                     Respectfully submitted


                                          /s/ Nina Wasow
                                          Daniel Feinberg (admitted pro hac vice)
                                          Nina Wasow (admitted pro hac vice)
                                          FEINBERG, JACKSON, WORTHMAN &
                                          WASOW LLP
                                          2030 Addison St., Ste. 500
                                          Berkeley, CA 94704
                                          Tel: (510) 269-7998
                                          Email: dan@feinbergjackson.com
                                          Email: nina@feinbergjackson.com

                                          William S. Stone
                                          STONE LAW GROUP TRIAL LAWYERS,
                                          LLC
                                          P.O. Drawer 70
                                          Blakely, GA 39823
                                          Tel: (229) 723-3045
                                          Email: billstone@stonelaw.com

                                          R. Joseph Barton (admitted pro hac vice)
                                          Colin M. Downes (admitted pro hac vice)
                                          BLOCK & LEVITON LLP
                                          1735 20th St., N.W.
                                          Washington, D.C. 20009
                                          Tel: (202) 734-7046
                                          Email: jbarton@blockesq.com
                                          Email: colin@blockesq.com

                                          Attorneys for Plaintiffs




                                     36
